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                                                     STATE OF NEW YORK
                                              OFFICE OF THE ATTORNEY GENERAL

 LETITIA JAMES                                                                                         DIVISION OF SOCIAL JUSTICE
Attorney General                                                                                     Environmental Protection Bureau


                                                       December 9, 2024

        BY CM/ECF
        The Honorable Lewis J. Liman
        United States District Judge
        United States District Court for the Southern District of New York
        Daniel Patrick Moynihan United States Courthouse
        500 Pearl Street
        New York, NY 10007-1312

                   Re:      Chan v. U.S. Department of Transportation
                            No. 1:23-cv-10365-LJL
                            Mulgrew v. U.S. Department of Transportation
                            No. 1:24-cv-01644-LJL

        Dear Judge Liman:

              We write on behalf of Stephanie Winkelhake, defendant in the two above-
        referenced cases. On December 2, 2024, the Chan and Mulgrew plaintiffs filed
        summary judgment motions [Chan ECF Nos. 136, 136-1; Mulgrew ECF Nos. 124,
        124-1]. Earlier today, defendants Metropolitan Transportation Authority and
        Triborough Bridge and Tunnel Authority (collectively, “MTA/Triborough”) filed
        papers opposing the plaintiffs’ motions and in support of MTA/Triborough summary
        judgment cross-motions [Chan ECF Nos. 147, 148; Mulgrew ECF Nos. 133, 134].
        Ms. Winkelhake joins the MTA/Triborough cross-motions and opposes the plaintiffs’
        motions for the reasons set out in the MTA/Triborough papers.

                                                                       Respectfully submitted,

                                                                          /s/ Andrew G. Frank

                                                                       Andrew G. Frank
                                                                       Assistant Attorney General

        c:         All counsel of record (by CM/ECF):



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